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9                      UNITED STATES DISTRICT COURT
10
                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11   JOHN THOR,                     ) Case No. 2:11-cv-01106-KJM -EFB
                                    )
12   Plaintiff,
                                    ) NOTICE OF VOLUNTARY
13
            vs.                     ) DISMISSAL WITH PREJUDICE
14                                  )
     ASSET MANAGEMENT               )
15
     OUTSOURCING, INC.              )
16
     Defendant.                     )
17
                                    )
                                    )
18
            NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
19
     Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
20

21   prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
22
     motion for summary judgment. Accordingly, this matter may be dismissed with
23

24   prejudice and without an Order of the Court.
25
           RESPECTFULLY SUBMITTED this 1st day of July, 2011.
26

27
                              By:    s/Todd M. Friedman
                                     Todd M. Friedman, Esq.
28                                   Law Offices of Todd M. Friedman, P.C.
                                     Attorney for Plaintiff


                                       Notice of Dismissal - 1
           Case 2:11-cv-01106-KJM-EFB Document 8 Filed 07/01/11 Page 2 of 2


1    Filed electronically on this 1st day of July, 2011, with:
2
     United States District Court CM/ECF system
3

4    And hereby served upon all parties
5
     Notification sent on this 1st day of July, 2011, via the ECF system to:
6

7    Honorable Kimberly J. Mueller
     Judge of the United States District Court
8
     Eastern District of California
9
     Copy sent via mail on this 1st day of July, 2011, to:
10

11   Asset Management Outsourcing, Inc.
12   5655 Peachtree Industrial Blvd., Suite 213
     Norcross, GA 30092
13

14   By: s/Todd M. Friedman
         Todd M. Friedman
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                                        Notice of Dismissal - 2
